                                Case 3:97-cr-00082-CCC                        Document 3411             Filed 07/26/07           Page 1 of 2
    qAO 245D               (Rev.l2103)Judgmentin a CriminalCasefor Revocations
                           SheerI



                                                          UNnBoSrarss Drsrnrcr Counr
                                          FOR THE                                 Districtof                              PUERTORICO
                UNITED STATESOF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                                                     v.                                   (For Revocation of Probation or SupervisedRelease)


           ROBERTO ROBLEDO-GARCIA                                                         CaseNumber:                             (63)(SEC)
                                                                                                                           e7-cR-82
                                                                                          USM Number:                      16163-069
                                                                                          AFPD.JOANNIEPLAZA-MARTINEZ
                                                                                          Defendant's Attomey
THE DEFENDAIIT:
X       admitted guilt to violation of condition(s) SpecialCond. 3 and StandardCond. 7 & l1                               ofthe term ofsupervision.

!       was found in violation ofcondition(s)                                                         after denial of guilt.
The defendantis adjudicatedguilty ofthese violations:


Violation Number                                      Nature of Violation                                                            Violation Ended
                                                      Failure to answertruthfully all inquires madeby US Probation Officer and to
Special Cond. 3                                       follow instructions.                                                               5/3/06
                                                      Failure to report and to submit a truthful and complete written report to the
StandardCond. 7                                       US Probation Officer within the first frve days of each months.                    March2007
                                                      Failure to notify the US Probation Offrcer within 72 hours ofbeing arrested or
StandardCond. I I                                     ouestionedbv the Law EnforcementOfficer.                                           7/7/07




      The defendantis sentencedas provided in pages2 through _]_                                      of this judgment. The sentenceis imposedpursuantto
the SentencingReform Act of 1984

fl      The defendanthas not violated condition(s)                                                 and is dischargedas to such violation(s) condition.

         It is ordered that the defendantmust notif,/ the United Statesattomev for this district within 30 davs ofanv
changeofname. residence,or mailing addressuntil all fines, restirution.cost5.and specialassessmenlsimo'osedbithis iudsmenl are
fully paid. lfordered to pay restitutidn.the defendantmust notify the coun and Uniied Statesattomey o f inaLeria[chan[esin
econonxc crcumstances.

Defendant's Soc. Sec. No.:                                                                Iulv 26.2007
                                                                                          Date of Imposition ofJudgment
Defendant's Date of Birth:


                                                                                          S/ SalvadorE. Casellas
                                                                                          SignatureofJudge
Defendant's ResidenceAddressi



                                                                                          SALVADORE. CASELLAS,U.S.DISTRICTCOURT
                                                                                          Name and Title ofJudge



                                                                                          tuLY 26.2007
                                                                                          Date
D e f e n d a n t ' sM a i l i n g A d d r e s s :
               Case 3:97-cr-00082-CCC                     Document 3411          Filed 07/26/07         Page 2 of 2
AO 245D    (Rev. l2l03 Judgmentin a CriminatCasetbr Revocations
           Sheet2- Imprisonment


                                                                                                Judgmenl Page -l_     of   2
DEFENDANT:                ROBERTOROBLEDO-GARCIA
CASENUMBER:               97-CR-082
                                  (63)(SEC)


                                                        IMPRISONMENT

        The defendantis hereby committed to the custody ofthe United StatesBureau ofPrisons to be imprisoned for a
total term of :  TIME SER\|ED. NO further Supervised Releaseterm will be imposed.




   !    The court makes the following recommendationsto the Bureau of prisons:




   X The defendantis remandedto the custodyofthe UnitedStatesMarshal.

   !   The defendantshallsurrenderto theUnitedStatesMarshalfor this district:
       D a t                                 !     a.m.    E p.-.        on
       E    as notified by the United StatesMarshal.

   !   The defendantshall surrenderfor service ofsentenceat the institution designatedby the Bureau ofprisons;

       E    before 2 p.m. on

       D    as notifred by the United StatesMarshal.

       I    as notified by the Probation or Pretrial Services Office.


                                                              RT,TURN
I have executedthis judgment as follows:




       Defendantdelivered on

                                                 with a certified copy ofthis judgment.




                                                                                             UNITED STATESMARSHAL


                                                                    By
                                                                                          DEPUTYUNITED STATESMARSHAL
